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         PLAINTIFF’S UNOPPOSED MOTION ON DEFENDANTS’ PENDING
                           MOTION TO DISMISS

       Plaintiff the National Rifle Association of America (the “NRA”) files this unopposed

motion in connection with Defendants’ pending motion to dismiss for failure to state a claim. See

ECF Nos. 9-10. The NRA seeks an order that Defendants’ pending motion to dismiss should be

withdrawn and/or deemed moot because the pending motion challenges the NRA’s Original

Complaint, filed on August 30, 2019, and not the current operative complaint, the First Amended

Complaint, filed on October 25, 2019. See King v. Dogan, 31 F.3d 344, 346 (5th Cir.1994) (“An

amended complaint supersedes the original complaint and renders it of no legal effect”); Ramirez

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v. Cty. of San Bernardino, 806 F.3d 1002, 1008 (9th Cir. 2015) (“Consequently, the Plaintiff’s

Second Amended Complaint superseded the First Amended Complaint, and the First Amended

Complaint ceased to exist. Because the Defendants’ motion to dismiss targeted the Plaintiff’s First

Amended Complaint, which was no longer in effect, we conclude that the motion to dismiss should

have been deemed moot before the district court granted it.”). Plaintiff the NRA submits that good

cause has been shown for these reasons and those explained in the accompanying proposed

stipulation and order.

       WHEREFORE Plaintiff the NRA requests that the Court grant this motion and order (1)

Defendants’ Motion to Dismiss for Failure to State a Claim, see ECF Nos. 9-10, shall be deemed

withdrawn; and (2) that the parties shall meet and confer concerning a reasonable schedule for

briefing any additional motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6) and present such

schedule to the Court no later than November 1, 2019, for the Court’s approval.




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Dated: October 30, 2019                              Respectfully submitted,

                                                     BREWER, ATTORNEYS &
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                                                     ATTORNEYS FOR THE PLAINTIFF-
                                                     COUNTER-DEFENDANT NATIONAL
                                                     RIFLE ASSOCIATION OF AMERICA




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was electronically

served via the Court’s electronic case filing system upon all counsel of record on this 30th day of

October 2019:




                                                     /s/ Michael J. Collins
                                                            Michael J. Collins




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